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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

HEATHER SMITH, individually and on
behalf of all others similarly situated,
                  Plaintiff,
                                                    Case No. 5:23-CV-00559-D
       v.
WHALECO INC. d/b/a TEMU,
                  Defendant.

              DEFENDANT’S MOTION TO COMPEL ARBITRATION


       Defendant Whaleco Inc. d/b/a Temu (“Temu”), through its undersigned counsel,

hereby respectfully moves, pursuant to the Federal Arbitration Act (“FAA”) and the Court’s

order of November 8, 2023 granting leave (see Dkt. 32), to compel Plaintiff Heather Smith

(“Plaintiff”) to submit her claims against Temu to binding individual arbitration, and to

dismiss (or alternatively stay) this matter in favor of said arbitration.

       As is described more fully in Temu’s Brief, which is filed herewith and incorporated

herein by reference, Plaintiff sues Temu under the Oklahoma Telephone Solicitation Act (i.e.,

Okla. Stat. tit. 15, § 775C et seq., the “OTSA”) based on “telephonic sales calls” (i.e., text

messages) she allegedly received from or on behalf of Temu on her cellphone without her

consent, and seeks class treatment. However, when she signed up for a Temu account, and

when she subsequently logged on to her account, she not only consented to receiving such

texts but also agreed to Temu’s “Terms of Use” containing a mandatory binding individual

arbitration provision and separate class action waiver, requiring her to arbitrate her OTSA

claims strictly on an individual basis. Further, while this Court may stay this action under the
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FAA in favor of said arbitration, it may also dismiss the entire case in accordance with Tenth

Circuit precedent, as all of Plaintiff’s claims are subject to arbitration.

       WHEREFORE, for the reasons stated above and in the accompanying Brief, and for

such other reasons as may be presented to the Court prior to its ruling hereon, Temu

respectfully requests that the Court enter an order compelling Plaintiff to submit her claims

in this matter to binding individual arbitration as she agreed, and dismissing (or alternatively

staying) this matter in favor of said arbitration, along with granting Temu all other relief the

Court deems just and proper.

Dated: November 15, 2023                            Respectfully submitted by:

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                           CERTIFICATE OF SERVICE

      I hereby certify that on November 15, 2023, a true and correct copy of the foregoing

was electronically filed with the Court’s CM/ECF system, which will send a notice to all

counsel of record.

                                            /s/ Robert A. Stines
                                            Robert A. Stines




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